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                        UNITED STATES BANKRUPTCY COURT
                                    FOR THE
                         WESTERN DISTRICT OF KENTUCKY

   IN RE:                                      )
                                               )
            JAMES ROBERTS                      )
            MARSHA ROBERTS                     )
                                               )       CASE NO. 06-10771
                  DEBTOR(S)                    )

                      MOTION FOR APPROVAL OF SETTLEMENT

            The Trustee, Mark H. Flener moves the Court to enter an order approving

   settlement of debtor’s products liability action involving multi-district litigation

   involving manufacturer of a medical device. In support hereof, Trustee states

   that the settlement of debtor’s products liability action has been approved in the

   multi-district litigation whereby the gross settlement amount of $400,000.00.

            Trustee seeks approval of payments as set forth in the disbursement

   sheet, attached hereto as Exhibit “A”. The settlement fund administrator,

   appointed to oversee disbursement on this settlement, pay directly $20,146.49 in

   costs, $163,244.02 in attorney fees, $,9,859.56 for a 3rd party loan, and medical

   liens in the amount of $14,269.42. After these payments, the settlement fund

   trustee shall disburse $200,590.56 to the Trustee.

            WHEREFORE the Trustee moves the Court to approve the settlement of

   the products liability action involving multi-district litigation and payment due

   debtor and/or debtor’s estate as set forth on the disbursement sheet attached as

   Exhibit “A”.

            This 25th day of November, 2019.

                                               /s/ Mark H. Flener________
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                                            Mark H. Flener, Chapter 7 Trustee
                                            1143 Fairway Street, Suite 101
                                            P.O. Box 8
                                            Bowling Green, KY 42102-0008
                                            Telephone: (270)783.8400
                                            Facsimile: (270)783.7782
                                            Email: mark@flenerlaw.com

                              CERTIFICATE OF SERVICE

          This is to certify that a true and exact copy of the foregoing was served

   this November 25, 2019, by either electronic filing or by placing same in the

   United States Mail, postage prepaid, addressed to all scheduled creditors and to
   the following:

   Hon. Charles Merrill
   601 W. Broadway, Suite 512
   Louisville, KY 40202

   Hughes and Coleman
   c/o Archer Systems, LLC
   1775 St. James Place, Suite 200
   Houston, TX 77056

   Neblett, Beard & Arsenault
   c/o Archer Systems, LLC
   1775 St. James Place, Suite 200
   Houston, TX 77056

   The Drakulich Firm
   c/o Archer Systems, LLC
   1775 St. James Place, Suite 200
   Houston, TX 77056

   Parker Waichman LLP
   c/o Archer Systems, LLC
   1775 St. James Place, Suite 200
   Houston, TX 77056

                                                   /s/ Mark H. Flener
                                                   Mark H. Flener
                                                   Chapter 7 Trustee
